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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
M.G.U., et al.,                     )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )                  Civil Action No. 18-1458 (PLF)
                                    )
KIRSTJEN NIELSEN, et al.,           )
                                    )
            Defendants.             )
____________________________________)


                             MEMORANDUM OPINION AND ORDER

                  This matter is before the Court on plaintiffs’ Application for a Temporary

Restraining Order (“TRO”) [Dkt. No. 8] filed on June 22, 2018. The matter was fully briefed,

and the Court held a hearing on the application on June 27, 2018. The TRO application sought

specific information about plaintiffs’ children who are detained by defendants separately from

their parents. At the hearing, defendants represented that they had provided or would soon

provide certain of the information requested. The Court therefore held the application for a TRO

in abeyance and suggested that the parties meet and confer and provide a joint status report to the

Court. The parties provided that joint status report [Dkt. No. 26] on July 5, 2018 and represented

that they had resolved several issues pertaining to the application, but that some matters were

still outstanding. Meanwhile, plaintiffs filed a motion for preliminary injunction [Dkt. No. 13].

That motion was fully briefed, and the Court held a hearing on that motion and on what remained

of the TRO application on July 12, 2018. The Court anticipates ruling on the motion for

preliminary injunction later this week.
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               In a filing on July 13, 2018 [Dkt. No. 40-2], plaintiffs made clear that they now

request only three items from defendants pursuant to their initial TRO application. In view of

the fact that the Court will soon issue its Opinion and Order with respect to the pending

preliminary injunction motion, the fact that defendants have represented to Judge Dana M.

Sabraw – who is presiding over the class action in federal court in San Diego – that they are

committed to complying with his order to reunite all of the separated children with their parents

by the court-ordered deadline of July 26, 2018, Ms. L. v. U.S. Immigration and Customs Enf’t,

No. 18-0428, ECF No. 109, at 1 (S.D. Cal. July 15, 2018), and the fact that they have further

represented to him that they anticipate reuniting up to 200 children with their parents every day

from now until July 26, see id., ECF No. 107-1, ¶ 40, it is hereby

               ORDERED that plaintiffs’ Application for a Temporary Restraining Order

[Dkt. No. 8] is GRANTED in part and DENIED in part as moot; it is

               FURTHER ORDERED that defendants shall facilitate daily telephone calls

between each plaintiff and each plaintiff’s child while the plaintiff-parent and his or her child

remain separated and in defendants’ custody; it is

               FURTHER ORDERED that defendants shall facilitate at least one telephone call

per week between the case manager for each plaintiff’s child and each plaintiff, at a

pre-determined time when each respective case manager and each plaintiff are available and able

to access a telephone, while the plaintiff-parent and his or her child remain separated and in

defendants’ custody; it is

               FURTHER ORDERED that on or before July 17, 2018, defendants shall provide

the address for the home or facility where E.F.’s child, B.Y.A.F., is currently detained; and it is




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               FURTHER ORDERED that defendants shall notify the Court promptly when

plaintiff A.P.F. or plaintiff E.F. has been reunited with their children. Ordering paragraphs 2 and

3 above will be vacated upon those reunifications.

               SO ORDERED.



                                                             __________/s/______________
                                                             PAUL L. FRIEDMAN
                                                             United States District Judge
DATE: July 16, 2018




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